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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA

 GROUNDFISH FORUM, INC.,          )
                                  )
      Plaintiff,                  )
                                  )
 v.                               )
                                  )
 NATIONAL MARINE FISHERIES        ) Case No. 3:23-cv-00283-JMK
 SERVICE, et al.,                 )
                                  )
      Defendants,                 )
                                  ) AMICUS CURIAE BRIEF OF THE
 and                              ) STATE OF ALASKA
                                  )
 CENTRAL BERING SEA               )
 FISHERMAN’S ASSOCIATION, et al., )
                                  )
      Intervenor-Defendants.      )




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                                    INTRODUCTION

       The State of Alaska respectfully submits this brief to counter the Groundfish

Forum claims regarding Amendment 123 to the fishery management plan (FMP) for

groundfish in the Bering Sea and Aleutian Islands (BSAI) Management Area. Contrary to

the plaintiff’s assertions, NMFS’s actions are neither arbitrary nor capricious, nor do they

violate the Magnuson-Stevens Fishery Conservation and Management Act (MSA) or the

National Environmental Policy Act (NEPA).

       This briefing will focus on the paramount significance of sustainability as outlined

in Magnuson-Stevens Act (MSA) National Standard 1, emphasizing the need to avert

economic harm to fishing communities in line with National Standard 8, and underscore

the imperative of minimizing bycatch, as mandated by National Standard 9. These

objectives are especially crucial in the context of the Pacific halibut, a species of

considerable importance to rural Western Alaska communities.

       Halibut is critical to Alaska's economy, supporting commercial and recreational

fishing, and attracting tourism, which generates significant revenue. It also holds cultural

and subsistence importance for rural communities, providing a vital food source and

maintaining traditional practices. Ensuring the sustainability of Pacific halibut not only

supports ecological balance but also preserves the livelihoods and economic stability of

fishing communities that rely on this resource. By aligning with these national standards,

NMFS helps to ensure responsible fisheries management that protects the interests of

rural Alaska communities and supports their ongoing development and prosperity. All of

these objectives are fundamentally important to the State of Alaska.


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                                          BACKGROUND

        The Magnuson-Stevens Act, officially known as the Magnuson-Stevens Fishery

Conservation and Management Act, is the primary law governing marine fisheries

management in U.S. federal waters. 1 First enacted in 1976, the Act aims to prevent

overfishing, rebuild overfished stocks, and ensure the conservation and management of

the U.S. fishery resources. 2 To achieve its objectives, the MSA established an Exclusive

Economic Zone (EEZ) extending 200 nautical miles from the U.S. coast, within which

the United States has exclusive rights to conserve and manage marine resources. 3 The

Magnuson-Stevens Act expressly preserves the jurisdiction of the states over fishery

management within their boundaries. 4

        The act creates eight Regional Fishery Management Councils that develop Fishery

Management Plans (FMPs) tailored to the specific needs of their regions. 5 These plans

include measures such as annual catch limits (ACLs), overfishing limits (OFL), fishing

seasons, and gear restrictions to regulate fishing activities. 6 Additionally, accountability

measures are implemented to ensure compliance with ACLs and address any overages,



1
        16 U.S.C. §§ 1801–1884, Nat'l Res. Def. Council, Inc. v. Daley, 209 F.3d 747 (D.C.Cir.2000);
Yakutat, Inc. v. Gutierrez, 407 F.3d 1054 (9th Cir. 2005); Pacific Coast Federation of Fishermen's
Associations v. Blank, 693 F.3d 1084 (9th Cir. 2012); Oceana, Inc. v. Bryson, 940 F.Supp.2d 1029 (N.D.
Cal. 2013).
2
        See id.; See also Alliance Against IFQs v. Brown, 84 F.3d 343 (1996).
3
         16 U.S.C. § 1802(11); See also City of Charleston v. A Fisherman's Best, Inc., 310 F.3d 155, 160
(4th Cir.2002).
4
        16 U.S.C. § 1856(a)(1).
5
        16 U.S.C. § 1852.
6
        See e.g. Oceana, Inc. v. Bryson, at 1037.


                                                    2
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which may involve adjustments to future catch limits or enforcement actions. 7 The Ninth

Circuit has explained how these measures work in harmony:

                 In order to control for scientific uncertainty in identifying the
                 overfishing limit, the guidelines require Councils to specify an
                 “acceptable biological catch” level (“ABC”), which is defined as “a
                 level of a stock or stock complex's annual catch that accounts for the
                 scientific uncertainty in the estimate of OFL and any other scientific
                 uncertainty.” By taking into account scientific uncertainty, the
                 “acceptable biological catch” level for a particular fishery is likely to
                 be more conservative than the overfishing level for that same
                 fishery. (“While the ABC is allowed to equal OFL, NMFS expects
                 that in most cases ABC will be reduced from OFL to reduce the
                 probability that overfishing might occur in a year.”). Generally,
                 when a Council sets an annual catch limit in a fishery management
                 plan, the “ACL cannot exceed the ABC.” The guidelines require
                 Councils to “evaluate and describe” these metrics “in their [plans]
                 and amend the [plans], if necessary, to align their management
                 objectives to end or prevent overfishing” for “all stocks and stock
                 complexes” considered to be located “in the fishery.” 8

        The MSA details ten National Standards to guide the development and

implementation of FMPs in a manner that balances ecological sustainability with

economic and social considerations. 9 FMPs must comply with the standards 10 and NMFS

is permitted to balance the standards against one another. 11


7
        Id.
8
         Id. (internal citations omitted). Also, Overfishing is defined as a rate or level of fishing mortality
that jeopardizes the capacity of a fishery to produce the maximum sustainable yield on a continuing basis.
See also San Joaquin River Group Authority v. National Marine Fisheries Service, 819 F.Supp.2d 1077
(E.D. Cal. 2011)); Oceana, Inc. v. Ross, 483 F.Supp.3d 764 (N.D. Cal. 2020); Oceana, Inc. v. Coggins,
606 F.Supp.3d 920 (N.D. Cal. 2022).
9
        16 U.S.C. § 1851(a)(1)-(10).
10
        Pac. Coast Fed'n of Fishermen's Associations v. Blank, 693 F.3d at 1087. (citing 16 U.S.C. §§
1851(a), 1853(a)(1)(C), 1854(a)(1)(A)).
11
       Pac. Coast Fed'n of Fishermen's Ass'n v. Locke, No. C 10-04790 CRB, 2011 WL 3443533, at *9
(N.D. Cal. Aug. 5, 2011) (citing Conservation Law Found. v. Mineta, 131 F.Supp.2d 19, 27
(D.D.C.2001)).


                                                      3
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                                           ARGUMENT

I.      Amendment 123 conforms to sustainability objectives of MSA without
        imposing inequitable or impracticable standards on the Amendment 80
        Sector.

        a.        Amendment 123 will minimize harm to rural Western Alaska communities.

        Pacific halibut is a cornerstone species for rural Western Alaska communities,

 providing essential income, employment, and food security. 12 The Community

 Development Quota (CDQ) Program was established to ensure that these communities

 benefit from the rich marine resources in the BSAI Management Area. 13 Overfishing and

 poor management of halibut stocks could devastate these communities, making

 sustainable management practices paramount. NMFS's adoption of Amendment 123 is

 thus a proactive step to safeguard halibut populations, ensuring that rural Western Alaska

 communities can continue to thrive and support their traditional ways of life.

        Nearly all of the communities in the BSAI Management Area analyzed in the

 social impact assessment are considered “halibut-dependent,” while the remaining are

 considered “substantially engaged.” 14 The former are most vulnerable to overharvested

 halibut stocks, though all BSAI communities are impacted during times of halibut

 scarcity. 15 St. Paul in Area 4C remains the highest-producing halibut fleet of any


 12
          16 U.S.C.A. § 1855(i)(1)(A)(i)-(iv); See also Norton Sound Economic Development Corporation
 2022 Annual Report, at 8, “most federally managed commercial species have been added to the [CDQ]
 program, granting western Alaskan residents ten percent of the Bering Sea fisheries through direct
 allocations that include [] halibut….” And “NSEDC approaches our investments in IFQ and fishery
 operations with a strategic eye toward diversification.”
 13
        Id.
 14
        NOAA003660.
 15
        See id.


                                                  4
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community and one of the most reliant communities on halibut, as it accounts for 99% of

their ex-vessel gross revenue. 16 The smaller community fleets of St. George and

Savoonga even report absolute reliance at 100%. 17 And though most other community

fleets have greater revenue diversification, a total of ten BSAI communities attribute

more than 85% of their ex-vessel gross revenue to halibut. 18

       Rural communities within Area 4 could potentially experience the beneficial

“incidental reallocative effects” from Amendment 123’s implementation. 19 This is the

case because, despite measures adopted by the Amendment 80 sector to reduce prohibited

species catch (PSC) halibut mortality, Area 4 is still the most highly concentrated area for

Amendment 80 halibut PSC, accounting for 83-90% of annual PSC occurrence. 20

Consequently, further PSC reductions would most likely benefit this area and its

respective communities, including St. Paul (Area 4C), whose halibut ex-vessel revenues

have dipped below the period average over each of the last seven years. 21 BSAI

communities that fall within this region and identify as “halibut-dependent” would likely

realize any potential indirect benefit to the directed fishery during low-abundance

conditions. 22



16
       NOAA003735.
17
       NOAA003680.
18
       NOAA003769.
19
       NOAA004121.
20
       Id.
21
       NOAA003735.
22
       NOAA004121.


                                             5
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       Furthermore, the potential benefits gained would help rural Western Alaska

communities develop greater resilience during times of unpredictable resource

availability and market volatility. 23 Amendment 123 reduces the likelihood that small-

scale commercial halibut fisheries will shut down when resource abundance is low. 24

The State continues to recognize the importance of maintaining and supporting the

vitality of these community fisheries ever since it first implemented: “[The program] is

intended to provide stable, long-term employment in eligible communities by

guaranteeing them a definite proportion of the halibut and sablefish resources.” 25 And by

ensuring these communities have access to sustainably managed halibut resources,

Amendment 123 will continue to help communities in Western Alaska diversify their

local economies and alleviate any growing socio-economic crises. 26

       b.      MSA’s National Standards 1 and 8 mandate long-term viability of fish
               stocks.

       National Standard 1 of the MSA focuses mainly on the prevention of overfishing

and achieving optimum yield on a continuing basis. 27 It reads “Conservation and

management measures shall prevent overfishing while achieving, on a continuing basis,




23
       NOAA004125.
24
       Id.
25
       57 Fed. Reg. 57,140 (Dec. 3, 1992).
26
       Id.
27
       San Joaquin River Group Authority, at 1102, Oceana, Inc. v. Ross, at 783; Oceana, Inc. v.
Coggins, at 923; Oceana, Inc. v. Bryson, at 1033.


                                                   6
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the optimum yield from each fishery for the United States fishing industry.” 28

Each clause in National Standard 1 is critical and should be examined.

        Under the “Findings, purposes and policy” section of the MSA, Congress

specifically stated that a “national program for the conservation and management of the

fishery resources of the United States is necessary to prevent overfishing, to rebuild

overfished stocks, to insure conservation, to facilitate long-term protection of essential

fish habitats, and to realize the full potential of the Nation's fishery resources.” 29 In order

to achieve this mandate, National Standard 1 directs that conservation and management

measures must prevent overfishing. 30 It is the first clause of the first standard because

without conservation, future yield will be reduced or eliminated. 31

        Preventing overfishing, the core function of the Act, is accomplished by setting

limits on the amount of fish that can be caught within a certain period, the ACL,

and establishing accountability measures to ensure that these limits are not exceeded. 32

But Congress recognized that a certain amount of scientific uncertainty in predicting a

stock's overfishing level is inevitable. 33




28
        16 U.S.C § 1851(a).
29
        16 U.S.C. § 1801(a)(6).
30
        16 U.S.C. § 1853(a)(1)(A), 50 C.F.R. § 600.305, Oceana, Inc. v. Bryson, at 1035, Parravano v.
Babbitt, 837 F.Supp. 1034 (1993).
31
        See e.g.
32
        58 Fed. Reg. 59,377 (Nov. 9, 1993).
33
        Oceana, Inc. v. Locke, 831 F. Supp. 2d at 128. (citing 50 C.F.R. § 600.310(f)); Massachusetts v.
Pritzker, 10 F. Supp. 3d 208, 213 (D. Mass. 2014) (“The objective of the control rule is to provide a
buffer between OFL [overfishing limit] and ABC [acceptable biological catch] such that there is less than
a 50% chance that overfishing will occur.”); 50 C.F.R. § 600.310(f)(2)(i) (implementing regulations for


                                                    7
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        National Standard 1 also emphasizes achieving, on a continuing basis, the

optimum yield from each fishery for the United States fishing industry. 34 The term

“optimum yield” refers to the amount of fish that provides the greatest overall benefit to

the nation, taking into account the protection of marine ecosystems, and with particular

reference to food production and recreational opportunities. 35 The determination of the

optimum yield is a decision-making mechanism for achieving a fishery management

plan's objectives and balancing various interests to provide the greatest overall benefits to

the nation. 36 Rural Western Alaska has a significant interest in sustainably managed

fisheries, for both subsistence and commercial purposes. 37

        Finally, National Standard 1 highlights the importance of long-term sustainability

of fishery resources in the context of “Maximum Sustainable Yield” (MSY). MSY is

defined as the largest long-term average catch or yield that can be taken from a stock or


National Standard One stating that ABC “could be based on an acceptable probability (at least 50 percent)
that catch equal to the stock's ABC will not result in overfishing”).
34
       16 U.S.C. § 1851(a)(1). San Joaquin River Group Authority, at 1102; Oceana, Inc. v. Ross, at
783; Oceana, Inc. v. Bryson, at 1036.
35
         16 U.S.C. § 1802(33); see also 50 C.F.R. § 600.310(e)(3). San Joaquin River Group Authority, at
1084 (This optimum yield is typically “prescribed on the basis of the maximum sustainable yield from the
fishery, as reduced by any relevant social, economic, or ecological factor” and “in the case of an
overfished fishery, provides for rebuilding to a level consistent with producing the maximum sustainable
yield in such fishery.” 16 U.S.C. § 1802(33).)
36
         Oceana, Inc. v. Bryson, at 1036. (“The guidelines note that ‘(t)he determination of (optimum
yield) is a decisional mechanism for resolving the (Magnuson Act)’s conservation and management
objectives, achieving a fishery management plan’s () objectives, and balancing the various interests that
comprise the greatest overall benefits to the Nation.’ 50 C.F.R. S 600.310(b)(2)(ii).… Thus, under
National Standard 1 and NMFS’ implementing regulations, a plan must include conservation and
management measures that both prevent overfishing (a rate of fishing which would jeopardize the
capacity of a fishery to produce the maximum sustainable yield on a continuing basis) and achieve
optimum yield (the maximum sustainable yield from the fishery as reduced by any relevant social,
economic, or ecological factor.”)
37
        NOAA003708.


                                                     8
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stock complex under prevailing ecological, environmental conditions, and fishery

technological characteristics. 38

        The guidelines for National Standard 1 are detailed in the Code of Federal

Regulations. 39 These guidelines provide a framework for establishing ACLs,

accountability measures, and other management measures. Key aspects of these

guidelines include regular scientific assessments of fish stocks to determine their status

and trends, setting ACLs that prevent overfishing while allowing for sustainable harvests,

and developing and implementing plans to rebuild overfished stocks to sustainable

levels. 40 These measures ensure that fishery management is based on the best scientific

information available, balancing ecological, economic, and social considerations for the

long-term sustainability of fish populations and the benefits they provide to fishing

communities. 41

        In the context of supporting the economic and social well-being of fishing

communities, National Standard 1 works in conjunction with National Standard 8.

Standard 8 addresses economic and social considerations, and aims to minimize, to the

extent practicable, adverse economic impacts on fishing communities. 42 While there is

considerable variation in different CDQ regions, the percentage of low-income residents


38
       San Joaquin River Group Authority, at 1085; Oceana, Inc. v. Ross, at 768; Oceana, Inc. v.
Coggins, at 923.
39
        50 CFR § 600.310.
40
        Id.
41
        Id.
42
       16 U.S.C. § 1851(a)(8); see also 50 C.F.R. § 600.345(b)(2); Oregon Trollers Ass'n v. Gutierrez,
452 F.3d 1104, 1122 (9th Cir. 2006)).


                                                   9
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in each of these regions is greater than the analogous percentages for the general

population of the state of Alaska. 43 National Standard 8 ensures that conservation and

management strategies protect the economic well-being of these more vulnerable fishing

communities and minimize adverse impacts to their sustained participation in BSAI

fisheries, to the extent practicable. 44 This is especially important for CDQ communities,

which are generally “remote, isolated places with relatively few commercially valuable

natural assets with which to develop and sustain a viable, diversified economic base.” 45

       More specifically, CDQ allocations provide communities with various

opportunities to invest in “vessels, infrastructure, processing capacity, and specialized

gear.” 46 Both direct and indirect investments help CDQ groups develop greater market

autonomy and diversification through opportunities like seafood branding, marketing,

quality control training, and local employment. 47 These investments, in turn, create a

more self-sustaining economy, in which CDQ-derived revenue “supports permit

brokerages and revolving loan programs...that further sustain fisheries development.” 48

       It should be clear that National Standard 1 is crucial for maintaining the health and

productivity of U.S. fisheries. By preventing overfishing and ensuring that fish

populations are managed sustainably, the law helps to secure the long-term viability of



43
       NOAA003708.
44
       See e.g. 50 CFR § 600.345
45
       NOAA003995.
46
       NOAA003996.
47
       Id.
48
       NOAA003996.


                                             10
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fish stocks, which in turn supports the economic and social well-being of fishing

communities, including those under the CDQ program. And it does this along with

National Standard 8 to ensure that fisheries are managed in a way that balances

ecological, economic, and social considerations, providing benefits to current and future

generations.

       c.      Amendment 123 aligns with equitable standards outlined by National
               Standard 4.

       National Standard 4 further qualifies standard 1 and 8 by ensuring that

conservation and management measures are grounded in principles of “fairness and

equity.” 49 Standard 4, however, does not preclude these measures from having

differential impacts on people and corporations: “management measures that have

different effects on persons in various geographical locations are permissible.” 50 As long

as these measures do not discriminate based on residence or implicate a discriminatory

state-statute, “allocations” of fishing privileges that promote a legitimate FMP objective

“may impose hardships on one group if they are outweighed by the total benefits received

by another group.” 51 Otherwise, they are considered “without [proper] cause.” The long-

term sustainability of halibut fisheries, as intended by Amendment 123, is a legitimate

FMP objective. 52




49
       50 CFR § 600.325.
50
       Id.
51
       Id.
52
       Id.


                                            11
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       Standard 4 also requires that sector allocations are “rationally” connected to

legitimate FMP objectives. 53 In Fishermen’s Finest, Inc., the North Pacific Council

(Council) allocated higher than average Pacific cod Total Allowable Catch (TAC) to

sectors that would benefit coastal Alaska communities. 54 Though this decision

consequently “disadvantaged” Fishermen’s Finest, Inc., the decision was the “rational”

byproduct of Council’s interest in expanding entry-level, local opportunities for coastal

Alaskan communities to fish for Pacific cod. 55 In addition to considering socioeconomic

factors, the Council’s reallocation decision intentionally favored directed cod fisheries

that reported less bycatch than Fishermen’s non-AFA trawl CP sector: “[the] shift in

percentage points [of TAC] was rationally justified by the need to preserve the more

efficient directed cod fishery.” 56 Thus, the rational basis for allocation decisions can

come in myriad forms, from socio-economic considerations to historical bycatch records.

       Here, Amendment 123 may have a slight impact to the Amendment 80 sector, but

the allocation of PSC limits is fair, equitable, and “rationally” connected to the long-term

sustainable objectives of halibut fisheries. Not only does NMFS’s decision take into

account the disproportionate impacts of the sector on halibut bycatch, but like the

decision in Fishermen’s Finest, it also considers the socioeconomic context of Western

Alaska communities and their reliance on healthy, sustainably managed fisheries.



53
       Id.
54
       Fishermen's Finest, Inc. v. Locke, 593 F.3d 886, 892 (9th Cir. 2010).
55
       Id.
56
       Id. at 895.


                                                  12
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Without Amendment 123 directed halibut fishers would suffer a disproportionate share of

the economic harm during times of low abundance.

       d.     Federal fisheries programs designed to benefit rural Western Alaska
              depend on sustainably managed fisheries.
       Many rural Western Alaska communities participate in federal fisheries through

the CDQ program, which was established in 1992 as part of the Magnuson-Stevens

Fishery Conservation and Management Act. 57 Under section 305 of the MSA, a

percentage of certain fisheries’ total allowable catch in federal waters off Alaska’s coast

is allocated to communities in Western Alaska. 58 These communities have historically

relied on fishing as a primary economic activity. 59

       The CDQ program carries the stated the intention of “help[ing] develop

commercial fisheries in communities on the Bering Sea coast by allowing them exclusive

access to specified amounts of halibut and sablefish in the BSAI.” 60 The program aims to

promote economic development, provide job opportunities, and improve the living

standards of these communities by allowing them to participate in commercial fishing

activities. 61 The allocated quota can include various species such as pollock, cod, crab,

and other groundfish. 62 Participating communities can form non-profit corporations to




57
       NOAA003995.
58
       See 16 U.S.C. § 1855(i)(1)(A).
59
       NOAA003995.
60
       58 Fed. Reg. 59,376 (Nov. 9, 1993).
61
       NOAA003995
62
       Id.


                                               13
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manage and distribute the fishing quotas. 63 Revenue generated from the sale of fish

caught under the program is used to “advance economic development” and fund various

community projects, such as infrastructure improvements, education, healthcare, and

cultural preservation. 64

       The program is open to certain communities in Western Alaska that meet specific

criteria, such as being located within defined geographic areas and having a certain level

of historical dependence on fishing. 65 These communities, which are specifically

identified in the Act, 66 are rural and predominantly Alaska Native. Participating

communities typically form non-profit corporations known as CDQ groups to manage

and distribute the fishing quotas. 67 These groups are responsible for overseeing fishing

operations, ensuring compliance with regulations, and maximizing the economic benefits

for their communities. 68 Once allocated quotas are obtained, groups may engage in

commercial fishing activities using various methods such as trawling, longlining, or pot

fishing, depending on the species targeted. 69 The harvested fish are processed and sold,

with revenues generated from the sale of fish contributing to the economic development

of the communities. 70 The revenue generated from fishing activities is reinvested into the


63
       NOAA003996.
64
       16 U.S.C. § 1855(i)(1)(J).
65
       NOAA003995.
66
       16 U.S.C. § 1855(i)(1)(D).
67
       NOAA003996.
68
       Id.
69
       Id.
70
       Id. See also infra footnotes 75-89.


                                              14
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communities through a variety of community development projects. 71 These projects may

include infrastructure improvements (such as construction of harbors or roads),

investment in education and workforce development, healthcare initiatives, housing

programs, and cultural preservation efforts. 72

       The primary goal of the program is to support economic development, alleviate

poverty, and promote social benefits in the eligible communities. 73 It also aims to provide

these communities with opportunities to participate in the BSAI fisheries, which would

otherwise be inaccessible due to the high costs of entry into the commercial fishing

industry. 74 The MSA requires a periodic review of CDQ groups to ensure they are

fulfilling program objectives, the most recent of which was a decennial review completed

in 2022 by the Alaska Departments of Fish and Game, Labor and Workforce

Development, and Commerce, Community, and Economic Development. 75

       There are currently six CDQ groups that represent the eligible communities:

              Aleutian Pribilof Island Community Development Association (APICDA)

represents Akutan, Atka, False Pass, Nelson Lagoon, Nikolski, and St. George. From

2011-2020 APICDA’s Halibut CDQ allocation was harvested at near full utilization at




71
       NOAA003644.
72
       Id.
73
       16 U.S.C. § 1855(i)(1)(A).
74
       NOAA003734.
75
        All reports available at https://www.commerce.alaska.gov/web/cdqinformation.aspx, last visited
June 25, 2024.


                                                  15
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96%. 76 The State’s decennial review found that residents of APICDA member

communities “have a strong historical dependency on the halibut fishery and harvest

halibut allocations in both Area 4B and Area 4C.” 77

               Bristol Bay Economic Development Corporation (BBEDC) represents

more than 30 communities in the Bristol Bay region, including Dillingham, King Salmon,

Levelock, Naknek, Port Heiden, Togiak, and Ugashik. Halibut harvest in the 4E CDQ

fishery has varied over the past several decades, from a high of over 200,000 pounds in

2020 to 60,942 in 2019. 78 BBEDC also participates in the 4D CDQ halibut fishery and

several Individual Fishing Quota (IFQ) fisheries. 79 The State found that during the ten

year review period the “percent utilization for the combined Area 4D/4E [halibut] harvest

increased by an average of 2.9 points per year.” 80

               Central Bering Sea Fishermen's Association (CBSFA) represents St. Paul

Island. 81

               Coastal Villages Region Fund (CVRF) represents Chefornak, Chevak, Eek,




76
        Aleutian Pribilof Island Community Development Association 2022 Annual Report, at 22.
Available at https://www.apicda.com/wp-content/uploads/2023/10/Annual-Report-WEB-2022.pdf, last
accessed June 24, 2024.
77
         CDQ Program 2022 Decennial Review Report: APICDA. Available at
https://www.commerce.alaska.gov/web/cdqinformation.aspx, last visited June 25, 2024.
78
         Bristol Bay Economic Development Corporation 2019 Annual Report, at 13. Available at
https://bbedc.com/wp-content/uploads/2020/09/BBEDC-2019-AR-ALLWEB.pdf, last accessed June 24,
2024.
79
        Id. at 29
80
         CDQ Program 2022 Decennial Review Report: BBEDC. Available at
https://www.commerce.alaska.gov/web/cdqinformation.aspx, last visited June 25, 2024.
81
        CBSFA is an Intervenor-Defendant in this litigation.


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Goodnews Bay, Hooper Bay, Kipnuk, Kongiganak, Kwigillingok, Mekoryuk, Napakiak,

Napaskiak, Newtok, Nightmute, Nunam Iqua, Platinum, Quinhagak, Scammon Bay,

Toksook Bay, Tuntutuliak, Tununak. CVRF receives CDQ halibut quota for Area 4D and

4E. 82 In the past, CDQ halibut quota was made available to in-region fishermen and

processed at the Goodnews Bay facility in Platinum. 83 When the Platinum plant closed,

CVRF began leasing halibut quota, “generating revenue for their region-wide benefits

programs.” 84

               Norton Sound Economic Development Corporation (NSEDC) represents

Brevig Mission, Diomede, Elim, Gambell, Golovin, Koyuk, Nome, Savoonga,

Shaktoolik, St. Michael, Stebbins, Teller, Unalakleet, Wales, White Mountain. Fishers

from this region harvested 36,156 pounds of halibut in 2022, earning a total of

$280,209. 85 From 2012 to 2022, residents of NSEDC’s member communities harvested

almost their entire annual halibut allocation, without exceeding the annual allocations. 86

               Yukon Delta Fisheries Development Association (YDFDA) represents

Alakanuk, Emmonak, Grayling, Kotlik, Mountain Village, Nunam Iqua. Currently,

YDFDA generates revenue with its halibut CDQ by leasing all of its halibut quota to


82
         CDQ Program 2022 Decennial Review Report: CVRF. Available at
https://www.commerce.alaska.gov/web/cdqinformation.aspx, last visited June 25, 2024.
83
       Id.
84
       Id.
85
         Norton Sound Economic Development Corporation 2022 Annual Report, at 8. Available at
https://www.nsedc.com/wp-content/uploads/2022-NSEDC-AR-NF-WEB-small.pdf, last accessed June
24, 2024.
86
         CDQ Program 2022 Decennial Review Report: NSEDC. Available at
https://www.commerce.alaska.gov/web/cdqinformation.aspx, last visited June 25, 2024.


                                                 17
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various harvesting partners in order to ensure a return from these investments. 87 The

group “has maintained strong performance relative to halibut during the review period an

average harvest rate of over 98 percent.” 88

        Each of these groups manages the fishery allocations and other resources provided

through the program to foster economic growth and development in their respective

regions. 89 But that economic growth and development only comes to Western Alaska

communities if the fishery is managed sustainably. The required sustainable management

is achieved through Amendment 123.

 II.    Amendment 123 appropriately seeks to minimize the Amendment 80 Sector
        halibut bycatch.

        a.     Minimizing bycatch is a critical function of the Fisheries Conservation Act.

        Amendment 123 also conforms to the objectives of National Standard 9, which

directs conservation and management measures to “minimize bycatch...and the mortality

of such bycatch,” to the extent practicable. 90 The Amendment 80 sector vessels are

required to discard PSC halibut upon catching them, dead or alive; mortality for released

halibut is 85% and the sector’s majority share of halibut PSC mortality consequently

warrants further PSC restrictions, as imposed by Amendment 123. 91 Furthermore,


87
         Yukon Delta Fisheries Development Association 2022 Annual Report, at 17. Available at
https://ydfda.org/sites/default/files/2022-05/YDFDA_2019%20AnnReport%20.pdf, last accessed June 24,
2024.
88
         CDQ Program 2022 Decennial Review Report: YDFDA. Available at
https://www.commerce.alaska.gov/web/cdqinformation.aspx, last visited June 25, 2024.
89
        Id.
90
        16 U.S.C. § 1851(a)(9).
91
        89 FR 17306, Table 21.


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Amendment 80’s increasingly efficient “deck-sorting” and investment in “halibut

excluder designs” suggest that Sector 80 can practically accommodate these new bycatch

restrictions. 92

        In Fishermen’s Finest, the North Pacific Council (NPC) increased TAC

allocations to the AFA trawl CP sector, because it had reported less bycatch than other

sectors. 93 National Standard 9 justified the Council’s preferential treatment for the

former, given the Council’s intent to further conserve cod fisheries and minimize total

bycatch. 94 Similar to NPC, NMFS has discretion to differentially allocate PSC limits

among participating sectors, as long as management decisions comport with the National

Standards outlined by MSA. Out of all BSAI sectors, the Amendment 80 sector creates

the largest annual dent on PSC mortality, and Amendment 123 is NFMS’s fair and

conservation-oriented response to help offset the sector’s disproportionate impact on

halibut bycatch.

        b.         Conservation and economic benefits of bycatch reductions outweigh short-
                   term costs.

        The plaintiff argues that Amendment 123 imposes unnecessary economic burdens

on the Amendment 80 sector without providing conservation benefits. 95 However, this

interpretation misrepresents the comprehensive analysis conducted by NMFS. The

amendment is designed to ensure long-term sustainability and equitable resource


92
        NOAA004018.
93
        Fishermen's Finest, Inc. v. Locke, 593 F.3d at 893.
94
        Id.
95
        See Complaint and Petition for Review, at 6-7.


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allocation, which aligns with the broader objectives of the MSA. 96 The plaintiff’s focus

on immediate economic impacts neglects the critical importance of preserving halibut

populations for future generations, particularly for the CDQ groups that rely heavily on

this resource.

        The reduction of halibut bycatch mortality is inherently a conservation measure.

Though NMFS does not predict Amendment 123 to influence Pacific halibut spawning

stock biomass, the PSC limits will reduce harvesting pressures on non-spawning stock,

specifically those that are less than 26 inches. 97 These fish will, in turn, support future

halibut stocks as they migrate and recruit into BSAI’s commercial halibut fisheries. 98

Again, NFMS conservation objectives are not short-sighted, as suggested by the plaintiff;

rather, they operate within a MSY framework that prioritize long-term sustainability and

optimum yield.

        c.        Amendment 123 accounts for Amendment 80 sector’s disproportionate
                  impact on bycatch.

        The assertion that Amendment 123 unfairly singles out the Amendment 80 sector

fails to recognize the equitable considerations integral to NMFS's decision-making

process. The allocation of halibut bycatch limits takes into account the different

capacities and impacts of each sector, including the crucial role of CDQ groups in



96
         NOAA003881 (Amendment 123 “would promote conservation of the halibut resource, improve
its management, and create a more equitable distribution process between the directed and non-directed
fisheries. In addition to supporting prosecution of groundfish fisheries, it is a highly valued fish species
that supports directed subsistence, recreational, and commercial halibut fisheries coastwide.”)
97
        NOAA004171.
98
        See id.


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supporting indigenous and local economies. By prioritizing sustainability and equitable

resource distribution, NMFS ensures that the benefits of the fishery are shared fairly

among all stakeholders.

       Moreover, Amendment 123 is meant to address Amendment 80’s disproportionate

impact on halibut mortality. 99 Therefore, NMFS’s decision-making is not “without

cause,” nor is it unfair. 100 Amendment 80 is singularly responsible for 52% of annual

halibut PSC mortality across all four primary groundfish sectors. 101 National Standard 4

requires IFQ allocation to comport with principles of “fairness and equity,” and notes that

“an allocation of fishing privileges may impose hardships on one group if they are

outweighed by the total benefits received by another group.” 102 Amendment 123 may

impose new bycatch limits on the Amendment 80 sector, but these limits have been fairly

and rationally decided given the sector’s majority impact on annual halibut PSC:

              The Council in October 2020 chose to focus this action only on the
              Amendment 80 PSC limits since the Amendment 80 sector comprises
              the majority of halibut PSC mortality in the BSAI (52% average
              from 2015-2020)...this action promotes the conservation of the
              halibut stock, provides greater fairness among direct and indirect
              users of the halibut resource, and may provide additional
              opportunities for the directed halibut fishery.” 103

       Even if the sector perceives these new limits as “hardships,” they are outweighed

by the collective long-term conservation benefits received by all four sectors, particularly


99
       NOAA004266; NOAA004271.
100
       50 CFR § 600.325.
101
       NOAA003874
102
       50 CFR § 600.325.
103
       NOAA003874.


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the CDQ groups that depend on robust halibut stocks. And while NMFS recognizes the

sector’s prior reductions in halibut bycatch, the Amendment 80 sector remains the

majority entity responsible for annual halibut PSC mortality, which warrants the

implementation of "additional [conservation] measures” to combat declining halibut

stocks. 104

        The Amendment 80 sector is not being singled out in these conservation efforts.

Concurrent with the implementation of Amendment 123, NMFS implemented a 25%

halibut PSC reduction for the BSAI trawl catcher vessel Pacific cod sector, the

groundfish sector with the second highest halibut PSC after Amendment 80. 105 The

halibut PSC reduction for the trawl catcher vessel sector was implemented as part of a

rationalization program for that sector and highlights that NMFS is actively managing

and reducing halibut PSC for other sectors.

        Lastly, the plaintiffs contend that the bycatch measures under Amendment 123 are

impracticable for the Amendment 80 sector. 106 This argument overlooks the

advancements in bycatch reduction technologies and practices that have been adopted by

various sectors, including the Amendment 80 fleet. 107 These advancements have

demonstrated that further reductions in bycatch are both feasible and necessary to meet




104
        NOAA003873.
105
        88 FR 53710, Amendment 122 to the FMP of the BSAI Management Area.
106
        See Complaint and Petition for Review, at 33.
107
        See e.g. NOAA004017.


                                                  22
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sustainability goals. NMFS's decision is grounded in a pragmatic approach that balances

current technological capabilities with the imperative of conservation.

                                      CONCLUSION

       National Standard 1 of the MSA mandates that conservation and management

measures must prevent overfishing while achieving optimum yield. This principle is

fundamental to Amendment 123, which aims to address the critical status of Pacific

halibut stocks. The sustainability of halibut is particularly important for rural Western

Alaska communities, including the 65 communities represented by CDQ groups. These

communities depend on the health of halibut stocks not only for economic opportunities

but also for cultural and subsistence purposes.

       In summary, NMFS’s approval of Amendment 123 is a well-considered decision

rooted in the principles of sustainability, equity and fairness among competing users, and

long-term conservation. It accomplishes this while appropriately balancing the ten

national standards and creating a more equitable distribution process between the directed

fisheries, including CDQ and IFQ fishers, and non-directed fisheries.

       Amendment 123 aligns with the statutory requirements of the MSA, balancing the

immediate needs of the Amendment 80 sector with the overarching goal of preserving

halibut stocks for the benefit of all stakeholders.




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